 Case: 1:16-cv-08637 Document #: 6620 Filed: 06/20/23 Page 1 of 2 PageID #:601304




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 IN RE BROILER CHICKEN ANTITRUST                       No. 1:16-cv-08637
 LITIGATION


 This Document Relates To:                             Honorable Thomas M. Durkin
                                                       Magistrate Judge Jeffrey T. Gilbert
 Commercial and Institutional Indirect
 Purchaser Plaintiff Actions



   COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER PLAINTIFFS’
   NOTICE OF SETTLEMENT WITH DEFENDANT HARRISON POULTRY, INC.


       Commercial and Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) respectfully notify

the Court that they have reached an agreement with Defendant Harrison Poultry, Inc. to settle all

claims in this action. Consistent with the parties’ agreement, CIIPPs’ will move for preliminary

approval, and ultimately, final approval of the proposed settlement in the near future.



Dated: June 20, 2023                          Respectfully Submitted,

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                                                 1
Case: 1:16-cv-08637 Document #: 6620 Filed: 06/20/23 Page 2 of 2 PageID #:601305




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